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June 21, 2023

VIA CM/ECF
Honorable Judge Lorna G. Schofield
United States District Court
Southern District of New York
500 Pearl Street - Courtroom 21C
New York, NY 10007-1312

       Re:      Norris v. Capital Brands Group NY, LLC, d/b/a Atomic Wings, et al.
                Case 1:22-cv-07556-LGS

Dear Judge Schofield:

       The undersigned represents the Plaintiff in the above-captioned case matter.

        On April 25, 2023, an Order of Dismissal was signed by Your Honor [D.E. 27] providing
Plaintiff's counsel thirty (30) days within which to move to reopen this matter, should the proposed
settlement not be consummated within that period of time. Thereafter, on May 24, 2023, at the request
of the undersigned, Your Honor issued a subsequent Order [D.E. 30] extending the deadline for any of
the parties to reopen the case to June 25, 2023.

       As of this date, the settlement has not yet been fully consummated, in that the accessibility
remediations to be performed by the Defendants have not yet been completed nor have the settlement
funds been fully received. The terms of the settlement provide that the Defendants shall have six
months to complete their accessibility remediation and until August 12, 2023, to complete their
settlement payment obligations. Therefore, the undersigned respectfully requests, with the consent of
the Defendants’ counsel, that the Court grant a further and final extension of the dismissal deadline,
until August 31, 2023, in order for the parties to consummate the settlement in this matter.

       The Court is advised that this is the Plaintiff's second and final request to extend the dismissal
deadline in this case. Thank you for your attention to this matter.

                                               Yours very truly,

                                               THE WEITZ LAW FIRM, P.A.

                                               By:
                                                      Robert J. Mirel, Esq.
